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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.,

                         Plaintiffs,

             v.                                         Civil Action No. 1:21-CV-02265-APM

DONALD J. TRUMP, et al.,

                         Defendants.



                  PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION
                      TO DEFENDANT REHL’S MOTION TO STRIKE

          Plaintiffs are United States Capitol Police officers who suffered injuries during the

violent attack on the United States Capitol on January 6, 2021. The attack on the Capitol was not

random or spontaneous—it was caused by Defendants, including Defendant Rehl, who

provoked, encouraged, and planned the attack as part of a conspiracy to use force, intimidation,

and threats to prevent Joe Biden and Kamala Harris from taking office, to prevent Congress from

counting the electoral votes, and to prevent the Capitol Police from carrying out their lawful

duties.

          Plaintiffs’ principal claims against all Defendants are for their violations of 42 U.S.C.

sections 1985 and 1986, which allow for redress for those injured by conspiracies to use force to

prevent federal officers from doing their jobs. Sections 1985 and 1986 are commonly referred to

as parts of the Ku Klux Klan Act. Defendant Rehl moves this Court to strike all references to the

law by that name and to strike unspecified references to racism, white supremacy, and race. The

Court should deny Defendant Rehl’s motion because it falls well short of meeting the established




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standard for striking language from a Complaint, and the challenged references in the Complaint

are factually accurate and relevant to Plaintiffs’ claims.

                                       LEGAL STANDARD

       A motion to strike is “a drastic remed[y] that courts disfavor.” Bey v. Wash. Metro.

Auth., 341 F. Supp. 3d 1, 11 (D.D.C. 2018); Stabilisierungsfonds Fur Wein v. Kaiser Stuhl Wine

Distributors Pty. Ltd., 647 F.2d 200, 201 (D.C. Cir. 1981) (denying motion; noting that “motions

to strike, as a general rule, are disfavored”); NCB Mgmt. Servs., Inc. v. F.D.I.C., 843 F. Supp. 2d

62, 72 (D.D.C. 2012) (same). “[A]bsent a strong reason for doing so, courts will generally not

tamper with pleadings.” Nwachukwu v. Karl, 216 F.R.D. 176, 178 (D.D.C. 2003) (citation and

internal quotations omitted). Accordingly, courts “draw all reasonable inferences in the pleader’s

favor and resolve all doubts in favor of denying the motion to strike.” Id.

       Allegations that provide helpful context or background concerning the dispute will not be

stricken even in a case, unlike this one, where they are not strictly relevant to a particular claim.

See Stanbury L. Firm v. I.R.S., 221 F.3d 1059, 1063 (8th Cir. 2000) (holding that information

that provides important context and background to a suit does not merit striking under Rule 12(f)

even if not strictly relevant to a particular claim); NCB Mgmt. Servs., Inc. v. F.D.I.C., 843 F.

Supp. 2d 62, 72 (D.D.C. 2012) (“If the allegations challenged by the FDIC are not directly

relevant to the merits of the NCB’s claims, they nonetheless provide helpful context about the

history of the parties’ dispute.”); Patton Boggs, LLP v. Chevron Corp., 791 F. Supp. 2d 13, 22

(D.D.C. 2011), aff’d, 683 F.3d 397 (D.C. Cir. 2012) (Denying motion to strike in part because “it

is routine for parties to provide the Court with a certain amount of background information that

is not directly relevant to the merits of the claim or motion at issue”). Rather, because motions to

strike are often considered “purely cosmetic or ‘time wasters,’” courts widely agree that “they


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should be denied unless the challenged allegations have no possible relation or logical

connection to the subject matter of the controversy and may cause some form of significant

prejudice to one or more of the parties to the action.” 5C Charles Alan Wright & Arthur Miller,

Federal Practice and Procedure § 1382 (3d ed., 2021 update); see Nwachukwu, 216 F.R.D. at

178. (“[B]ecause courts view motions to strike with such disfavor, many courts will grant such

motions only if the portions sought to be stricken are prejudicial or scandalous.”).

       There is a high bar for allegations to be sufficiently scandalous or prejudicial as to

warrant striking under Rule 12. It is not enough for a defendant to make “merely an assertion

that an unpleasant accusation lodged against it will ultimately be disproved.” Crawford v. Barr,

No. 17-798, 2019 WL 6525652, at *4 (D.D.C. Dec. 4, 2019) (denying motion to strike where

movant failed to show statements were made in bad faith or to deceive the court). It is also not

enough that pleadings “may cast the defendant in a ‘derogatory light.’” Uzlyan v. Solis, 706 F.

Supp. 2d 44, 58 (D.D.C. 2010) (allegations that did not include “provocative language” nor

“detract from the dignity of the Court” were not scandalous or impertinent); see Jackson v.

Starbucks Corp., No. 19-1487, 2020 WL 3791873, at *3 (D.D.C. July 7, 2020) (“a pleading may

depict the defendant in a negative or even disparaging manner without necessarily making

allegations scandalous enough to be removed through a motion to strike”). Instead, for

allegations to be considered scandalous under Rule 12(f), they must “suggest[] a needlessly cruel

and damaging depiction of a party.” Jackson, 2020 WL 3791873, at *3; see Pigford v. Veneman,

215 F.R.D. 2, 4 (D.D.C. 2003) (scandalous allegations are those that “unnecessarily reflect[] on

the moral character of an individual or states anything in repulsive language that detracts from

the dignity of the court”).




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                                           ARGUMENT

         The Complaint’s references to the Ku Klux Klan Act and to race are proper and

necessary to understand the context of this case. These references are relevant to the claims and

allegations in the Complaint and the motivations of the Defendants and their co-conspirators.

They are neither scandalous nor unduly prejudicial to Defendant Rehl. Defendant Rehl therefore

cannot meet the high standard for a motion to strike. 1

I.       The Complaint’s References to the Ku Klux Klan Act Are Accurate and Proper and
         Do Not Unduly Prejudice Defendant Rehl.

         Plaintiffs’ principal claims against all Defendants are for Defendants’ violations of the

laws codified at Title 42 U.S.C. Sections 1985 and 1986. These laws were “passed [as part of]

what is now known as the Ku Klux Klan Act. See ‘An Act to enforce the Provisions of the

Fourteenth Amendment to the Constitution of the United States, and for other Purposes,’ 17 Stat.

13 (now codified at 42 U.S.C. §§ 1983, 1985, and 1986).” Virginia v. Black, 538 U.S. 343, 353

(2003). The United States Supreme Court thus recognizes the law’s common name, and so does

Defendant Rehl. See id.; ECF 31-1, Defendant Rehl’s Memorandum of Law in support of his

Motion to Strike, at 12 (acknowledging that “[t]here are occasional references to a Klu [sic] Klux

Klan Act” in reference to the Civil Rights Act of 1871). In fact, the Supreme Court has referred

to the “Ku Klux Klan Act” or “Ku Klux Act” over a dozen times. 2 Moreover, the Act’s



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      Defendant Rehl’s motion also is untimely, as it was not filed before his Answer. See Fed.
R. Civ. P. 12(f); Sweeney v. Am. Registry of Pathology, 287 F. Supp. 2d 1, 5 (D.D.C. 2003)
(denying motion to strike in part because it was untimely under Rule 12(f)).
     2
        See Black, 538 U.S. at 353; Ngiraingas v. Sanchez, 495 U.S. 182, 187 (1990); Briscoe v.
LaHue, 460 U.S. 325, 337 (1983) (“The Ku Klux Act”); United Bhd. of Carpenters & Joiners of
Am., Loc. 610, AFL-CIO v. Scott, 463 U.S. 825, 839 (1983) (“The Ku Klux Klan Act”) (Blackmun,
J., dissenting); Kimble v. McDuffy, Inc., 454 U.S. 1110, 1112 (1981); Chapman v. Houston Welfare
Rts. Org., 441 U.S. 600, 628 (1979); Moor v. Alameda Cty., 411 U.S. 693, 699 (1973); District of
Columbia v. Carter, 409 U.S. 418, 423 (1973); Adickes v. S. H. Kress & Co., 398 U.S. 144, 162
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legislative history is filled with discussion about the Ku Klux Klan. See, e.g., Cong. Globe, 42d

Cong., 1st Sess. 439 (Rep. Cobb discussing “Ku Klux conspiracy”); id. at 445 (discussing

“evidence that the Ku Klux order still reigns in Kentucky”). It is no surprise, then, that courts

routinely refer to claims under Section 1985 and Section 1986 as “claims under [] provision[s] of

the Ku Klux Klan Act of 1871.” Spagnola v. Mathis, 809 F.2d 16, 32 (D.C. Cir. 1986)

(Silberman, J., concurring in part and dissenting in part), on reh’g, 859 F.2d 223 (D.C. Cir.

1988); see also, e.g., Black, 538 U.S. at 353 (§§ 1985 and 1986); United Bhd. of Carpenters &

Joiners of Am., Loc. 610, AFL-CIO v. Scott, 463 U.S. 825, 840 n.1 (1983) (Blackmun, J.,

dissenting) (§ 1985(1)); Church of Am. Knights of the Ku Klux Klan v. Kerik, 356 F.3d 197, 200

n.2 (2d Cir. 2004) (§§ 1985 & 1986); Sculimbrene v. Reno, 158 F. Supp. 2d 1, 2 (D.D.C. 2001)

(§ 1985(1)).

       Thus, the references to the Ku Klux Klan Act in the Complaint are in no way inaccurate,

but rather serve to best identify for Defendants, consistent with the notice pleading requirements

of the Federal Rules, the source of the laws on which Plaintiffs assert their claims. Nor can the

accurate and helpful references to the Ku Klux Klan Act be regarded as unduly prejudicial or

scandalous. Defendant Rehl suggests that references to the Ku Klux Klan Act are intended to

prejudice the jury pool against Defendant Rehl, see ECF 31-1, at 14-15, but he fails to explain

how accurate references to the common name of the law under which he is sued “suggest[] a

needlessly cruel and damaging depiction of a party,” Jackson, 2020 WL 3791873, at *3,

“unnecessarily reflect[] on [his] moral character . . . or states anything in repulsive language that

detracts from the dignity of the court,” Pigford, 215 F.R.D. at 4. Moreover, any potential for




(1970); Monroe v. Pape, 365 U.S. 167, 171 (1961), overruled by Monell v. Dep’t of Soc. Servs. of
City of New York, 436 U.S. 658 (1978); Collins v. Hardyman, 341 U.S. 651, 657 (1951).
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prejudice can be cured with a careful jury instruction rather than the “drastic” remedy of a

motion to strike. See Maronda Homes, Inc. of Fla. v. Progressive Express Ins. Co., No. 6:14-CV-

1287-ORL-31, 2015 WL 77986, at *2 (M.D. Fla. Jan. 6, 2015) (“To the extent that the

allegations [sought to be stricken] might unfairly prejudice Progressive if presented to the jury at

trial, that is a problem better addressed by the trial judge in the pretrial order, an order on a

motion in limine, or at the trial itself.”).

II.        The Complaint’s References to Race Are Relevant and Important and Do Not
           Unduly Prejudice the Defendant.

           The Complaint’s references to race are important and proper. Defendant Rehl fails to

identify with any specificity the particular references he seeks to strike, and for this reason alone,

his Motion should be denied. See Fed. R. Civ. Proc. 7(b)(1)(B); Arias-Zeballos v. Tan, No. 06

CIV. 1268 (GEL), 2006 WL 3075528, at *9 (S.D.N.Y. Oct. 26, 2006) (defendant’s papers

“provide no meaningless [sic] guidance that could help the Court determine which paragraphs of

the complaint are appropriate to eliminate as redundant or immaterial”). Nevertheless, as the

Complaint alleges, Defendants conspired to use force, intimidation, and threats to prevent

Congress from certifying the results of the 2020 Presidential election, in violation of Section

1985(1). See ECF 1, Complaint, ¶¶ 1-2, 5, 152-53. Among other actions in support of those

efforts:

           Defendants targeted false claims of election fraud at cities and states with significant
           Black populations—including Atlanta (51% Black), Detroit (78% Black), Milwaukee
           (39% Black), Philadelphia (43% Black), and Pittsburgh (23% Black)—and sought to
           intimidate and threaten officials from those and other jurisdictions into overturning the
           will of the voters. They relied on white supremacist groups and sympathizers to organize
           and hold rallies and to help plan and carry out the Capitol Attack. Participants in the
           Attack directed racial epithets at Black officers protecting the Capitol. And after
           breaching the Capitol, the attackers paraded the Confederate flag and other symbols of
           white supremacy through the Capitol’s halls.




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Id. ¶ 1. With this and other evidence-based allegations, the Complaint provides context and

motivation for the acts of the Defendants and their agents and coconspirators, including the

Proud Boys and its members: the nature of their conspiratorial agreements, their motivations and

tactics, the context of the events leading up to the Capitol Attack, and the injuries suffered by

Plaintiffs. See Stanbury L. Firm, 221 F.3d at 1063 (denying motion to strike information

providing important context and background to a suit); NCB Mgmt. Servs., Inc., 843 F. Supp. 2d

at 72 (same); Patton Boggs, LLP, 791 F. Supp. at 13 (same).

       For example, part of Defendants’ conspiracy involved Defendant Trump and Defendant

Trump for President, as well as Defendant Trump’s attorney Rudy Giuliani and others, working

to overturn the election results in major cities where Black voters had overwhelmingly supported

now President Biden and Vice President Harris. See id. ¶ 65. Many observers (including

Defendants’ co-conspirators and participants in the Capitol Attack) correctly interpreted

Defendants’ efforts as attempts to disenfranchise Black and minority Americans specifically, and

to motivate white supremacist groups and others to use force, intimidation, and threats in support

of the conspiracy. See id. Defendants also encouraged white supremacist groups and

sympathizers to come to Washington, D.C., on January 6 to participate in the Capitol Attack. Id.

¶¶ 6, 8, 81–82, 91. Indeed, many of the Capitol’s attackers exhibited white supremacist

sentiment while attacking, including by marching through the Capitol with an unfurled

Confederate flag, flashing white power hand symbols, violently destroying the memorial to

much-beloved civil rights icon Congressman John Lewis, and displaying anti-Semitic imagery

and slogans on their clothes. Id. ¶ 121. Defendants’ specifically relied on white supremacist

groups and sympathizers to help accomplish the goals of their conspiracy, demonstrating that

race was an important issue underlying the conspiratorial agreements violating Section 1985(1)



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and a motivating issue for some Defendants. Id. ¶¶ 4, 56, 73, 78. Whether Defendant Rehl

believes the allegations regarding race are wrong or without evidentiary support, see ECF 31-1,

at 16, is not relevant to a motion to strike. See Crawford, 2019 WL 6525652, at *4 (mere

assertion that an accusation will be disproved insufficient); Nwachukwu, 216 F.R.D. at 178 (all

reasonable inferences are to be drawn in favor of plaintiffs). What matters is that the challenged

allegations, among others, are relevant and important as discussed above.

       The Complaint’s allegations concerning race also bear directly on Plaintiffs’ injuries.

Defendants’ actions resulted in numerous Black Capitol Police officers, including some

Plaintiffs, being subjected to slurs and abuse based on their race. At least two Plaintiffs were

subjected to racial epithets during the Capitol Attack, see id. ¶¶ 146, 148, and all Plaintiffs and

their fellow officers were subjected to a violent attack in which attackers brazenly displayed

symbols of white supremacy. See id. ¶ 121.

       Courts frequently decline to strike Complaint allegations regarding racial issues where

pertinent to the case at hand, as is the case here. See, e.g., Jackson, 2020 WL 3791873, at *4;

Cobell v. Norton, 224 F.R.D. 1, 4–5 (D.D.C. 2004); Rauh v. Coyne, No. 88-0833, 1988 WL

279268, at *1 (D.D.C. Oct. 17, 1988); Schoolcraft v. City of New York, 299 F.R.D. 65, 67

(S.D.N.Y. 2014); Nelson v. Banks, No. 4:15-CV-00605, 2016 WL 5496406, at *12 (E.D. Ark.

Sept. 28, 2016); Hicks v. Netflix, Inc., 2020 WL 2463380, at *11 (C.D. Cal. Mar. 19, 2020). In

view of the relevance and importance of the challenged references in the Complaint, as discussed

above, the Defendant’s motion to strike should be denied.

       But even if the challenged references were not strictly relevant to the claims in the

Complaint, the court should deny the motion because the references are not “scandalous” or

unduly prejudicial. “[R]elevance is not the standard for a motion to strike, and irrelevant



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information may remain in a complaint so long as it is not scandalous or prejudicial.” Jackson,

2020 WL 3791873, at *3 (citation omitted). The Complaint alleges abhorrent conduct, to be

sure, and counsel have scrupulously ensured, consistent with Rule 11, that each allegation has

evidentiary support. See Fed. R. Civ. P. 11(b)(3). But to be considered scandalous under Rule

12(f), allegations must “suggest[] a needlessly cruel and damaging depiction of a party,”

Jackson, 2020 WL 3791873, at *3, or “unnecessarily reflect[] on the moral character of an

individual or [use] repulsive language that detracts from the dignity of the court.” Pigford, 215

F.R.D. at 4. The references that Defendant Rehl challenges are not included in the Complaint

“needlessly,” Jackson, 2020 WL 3791873, at *3, nor do they “unnecessarily” reflect on the

moral character of any individual, Pigford, 215 F.R.D. at 4. Rather, they provide important and

helpful context and information to elucidate how Defendants attempted to carry off their

conspiracy to use force, intimidation, and threats to disrupt Congress and attack Plaintiffs in

violation of the Ku Klux Klan Act, 42 U.S.C. § 1985, among the other claims in the Complaint.

As such, the allegations concerning race do not warrant striking under Rule 12(f). Cf. United

States v. McRae, 593 F.2d 700, 707 (5th Cir. 1979) (“Relevant evidence is inherently prejudicial;

but it is only Unfair prejudice, Substantially outweighing probative value, which permits

exclusion of relevant matter under Rule 403.”).

                                         CONCLUSION

        For the foregoing reasons, the Court should deny Defendant Rehl’s motion to strike in its

entirety.

Dated: October 19, 2021                               Respectfully submitted,

                                                      /s/ Edward G. Caspar
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                                                      Edward G. Caspar, D.C. Bar No. 1644168
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                                 CERTIFICATE OF SERVICE

       Pursuant to Federal Rule of Civil Procedure 5, a copy of the foregoing filing is being served

electronically on those parties who have appeared and registered with the Court’s ECF system.

Plaintiffs are serving remaining defendants via first class mail or other permitted means.




                                                     /s/ Edward G. Caspar
                                                     Edward G. Caspar




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